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 6
 7                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
     JAMAL JOHNSON, individually and            Case No. 5:19-CV-02456
 9   on behalf of all others similarly
                                                PLAINTIFF’S NOTICE OF
10   situated,
                                                MOTION FOR AWARD OF
11          Plaintiff,                          ATTORNEYS’ FEES AND COSTS
                                                AND CLASS REPRESENTATIVE
12                                              SERVICE AWARD AT FINAL
      v.
13                                              APPROVAL OF CLASS ACTION
                                                SETTLEMENT; MEMORANDUM
14   MOSS BROS. AUTO GROUP. INC.
                                                OF POINTS AND AUTHORITIES
     and SUSAN ANDERSON,
15                                              IN SUPPORT THEREOF
           Defendants.
16                                              Date: March 24, 2022
17                                              Time: 10:00 AM
                                                Ctrm: 6D
18                                              Judge: Hon. Fernando M. Olguin
19
20
                              NOTICE OF MOTION AND MOTION
21
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
22
           PLEASE TAKE NOTICE, on March 24, 2022, at 10:00 a.m., in Courtroom 6D
23
     of the above caption Court, located at 350 W. 1st Street, 6th Floor, Los Angeles,
24
     California 90012, Plaintiff will and hereby does move for an order to grant attorneys’
25
     fees, costs and a class representative service award. This motion is based on this Notice
26
     of Motion and Motion and the Memorandum of Points and Authorities, and upon such
27
     other written or oral argument as may be presented to the Court at the hearing.
28
                                                  i
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 1         This Motion is made following the conference of counsel pursuant to L.R. 7-3, and
 2   subject to a settlement agreement.
 3
 4
 5
 6   DATED: February 17, 2022
 7
     /s/ Scott Edelsberg
 8   Scott Edelsberg, Esq.
     California Bar No. 330990
 9
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    1
                 PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
    2
    3       I.      INTRODUCTION

    4            Plaintiff Jamal Johnson (“Plaintiff”) and Plaintiff’s Counsel (“Class Counsel”)

    5   have dedicated significant time, energy and resources litigating this case against

    6   Defendants Moss Bros. Auto Group, Inc. (“Defendant Moss Bros.”) and Susan

    7   Anderson (“Defendant Anderson”) (collectively “Defendants”). Through their

    8   efforts, they successfully negotiated a settlement set forth in the Settlement

    9   Agreement (the “Agreement”)1, which provides for a Gross Settlement Fund of

   10   $2,500,000 for 54,314 class members in compromise of disputed violations of the

   11   TCPA. Plaintiff negotiated an excellent result for the Settlement Class.

   12            Plaintiff’s complaint alleges that Defendant coordinated prerecorded telephone

   13   call campaigns on behalf of the various car dealerships they manage in which

   14   prerecorded messages were sent to Plaintiff and approximately 54,314 unique cell

   15   phone numbers. Plaintiff alleged that these campaigns violated the TCPA because the

   16   prerecorded messages were sent without Defendants first obtaining express written

   17   consent. Defendants deny any wrongdoing.

   18            After extensive discovery, multiple motions to compel arbitration, motions by

   19   a non-party intervenor, discovery motions, two amended complaints and their

   20   answers, the parties agreed to try and settle the case. The parties exchanged further

   21   data and were able to settle this matter with the aid of mediators Ted Bandstra and

   22   Jill Sperber. The parties reached a proposed class action settlement valued at
        $2,500,000, and this Court preliminarily approved that settlement on June 25, 2021.
   23
        Plaintiff and Class Counsel believe the settlement to be fair and reasonable, to
   24
   25
   26
        1
          The Agreement is attached as Exhibit A. Amendments to the Agreement are
   27   attached as Exhibit B.
   28
                                                    1
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    1
        adequately reflect the potential liability, and the result of thorough factual and legal
    2
        analyses and arm’s-length negotiations.
    3
                 Through this Motion, Plaintiff requests an award of attorneys’ fees and costs
    4
        to Class Counsel and a service award to Plaintiff. Plaintiff’s request for Class Counsel
    5
        fees of 25% of the Gross Settlement Fund is fair. On a percentage or a lodestar basis,
    6
        the fee award sought by this Motion is within the range of reasonableness. The costs
    7
        incurred were only those costs necessary to successfully resolve this matter. Class
    8
        counsel’s and Plaintiff’s requests are reasonable, justified, and in line with awards
    9
        approved in analogous TCPA class actions.
   10      II.      BACKGROUND
   11               a. Procedural History and Settlement Approval Proceedings
   12            On December 20, 2021 Plaintiff filed a putative class action complaint against
   13   Defendant in the United States District Court for the Central District of California,
   14   entitled Jamal Johnson, individually and on behalf of all others similarly situated, v.
   15   Moss Bros. Auto Group, Inc., a California Corporation. (ECF No. 1). The Complaint
   16   alleged violations of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227, et
   17   seq. (“TCPA”). The TCPA, and its implementing regulations were enacted by
   18   Congress and the Federal Communications Commission to “offer consumers greater
   19   protection from intrusive telemarketing calls….” Plaintiff alleges that Defendants
   20   coordinated prerecorded telephone call campaigns on behalf of the various car
   21   dealerships they manage in which prerecorded messages were sent to Plaintiff and
   22   approximately 53,423 unique cell phone numbers. Plaintiff alleged that these
   23   campaigns violated the TCPA because the prerecorded messages were sent without
   24   Defendants first obtaining express written consent.
   25            On March 2, 2020, Plaintiff filed his First Amended Complaint (ECF No. 17).
   26   On March 18, 2020, Defendant Moss Bros. filed its Answer. (ECF No. 26).
   27
   28
                                                    2
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    1
                On August 24, 2020, Plaintiff filed the operative Second Amended Complaint,
    2
        adding Defendant Susan Anderson. (ECF No. 84). On September 9, 2020,
    3
        Defendants filed their Answer. (ECF No. 93).
    4
                Defendants deny any wrongdoing and have articulated various challenges to
    5
        class certification and the merits of Plaintiff’s claims. Defendants also have sought
    6
        to enforce a class-action waiver and arbitration agreement. Plaintiff has opposed
    7
        those efforts, and the arbitration matters remain submitted to the Court.
    8
                On February 22, 2021, Plaintiff filed his Unopposed Motion for Preliminary
    9
        Approval of the Class Settlement. (ECF No. 123.).
   10           On June 25, 2021, the Court issued an Order Re Motion for Preliminary
   11   Approval of Class Action Settlement granting approval of the settlement. (ECF No.
   12   125).
   13           On August 18, 2021, the Settlement Administrator mailed the Class Notice,
   14   via U.S. First Class Mail, to 51,818 Class Members. There has been 2 opt-outs and
   15   no objections. The deadline to object or opt out of the Settlement has passed.
   16           On December 16, 2021, this Court held a final approval hearing, raised some
   17   discrete concerns, and suggested some solutions that would facilitate the granting of
   18   Plaintiff’s Motion for Final Approval and Motion for an Award of Attorneys’ Fees
   19   and Costs. (ECF No. 132).
   20              b. Extensive Discovery Conducted
   21           Plaintiff served several sets of written discovery requests, issued several
   22   subpoenas, and engaged in multiple rounds of the meet and confer process. The
   23   parties engaged in extensive exchanges of documents and information, including data
   24   regarding putative class members, as well as formal discovery in the lawsuit.
   25              c. Major Law and Motion Practice
   26           The parties engaged in extensive law and motion practice, which allowed the
   27   parties to gain a strong understanding of the allegations and defenses in this case.
   28
                                                  3
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     1
               On March 16, 2020, Defendant filed a Motion to Stay the case pending
     2
         arbitration. (ECF No. 19). On March 26, 2020, Plaintiff filed its opposition the
     3
         Motion to Stay. (ECF No. 28). Defendant filed its reply on April 2, 2020. (ECF No.
     4
         34). On May 18, 2020, the Court denied the Motion to Stay. (ECF No. 52).
     5
               On July 2, 2020, non-party Moss Bros. CJD, Inc. filed a Motion to Intervene,
     6
         a Motion to Compel Arbitration, and a Motion for Joinder in the Amended
     7
         Complaint. (ECF Nos. 56, 57, 58). Plaintiff filed his opposition to all three motions
     8
         on July 9, 2020. (ECF Nos. 59, 60, 61). Moss Bros. CJD, Inc. and Defendant Moss
     9
         Bros. filed replies to all three motions on July 16, 2020. (ECF Nos. 64, 65, 66). On
   10    January 19, 2020, the Court vacated the motions given the filing of a proposed
   11    settlement. (ECF No. 118).
   12          Based on information gathered in connection with document production, initial
   13    disclosures, and meet and confers, Plaintiff moved for leave to file a Second
   14    Amended Complaint adding Defendant Susan Anderson on July 27, 2020. (ECF No.
   15    67). Defendant filed its opposition on August 6, 2020. (ECF No. 73). Plaintiff filed
   16    his reply in support on August 10, 2020. (ECF No. 75). On August 24, 2020, the
   17    Court granted Plaintiff leave to file a Second Amended Complaint. (ECF No. 83).
   18          On September 10, 2020, Defendant Susan Anderson and Defendant Moss
   19    Bros. each filed a Motion to Compel Arbitration, as well as a joint Motion to Stay
   20    pending a decision on their respective motions to compel arbitration. (ECF Nos. 97,
   21    98, 99). Plaintiff filed his oppositions on September 17, 2020. (ECF Nos. 103, 104).
   22    Defendants filed their replies in support on September 24, 2020. (ECF Nos. 106, 107).
   23    On January 19, 2020, the Court vacated the motions given the filing of a proposed
   24    settlement. (ECF No. 118).
   25          Plaintiff filed three notices of supplemental authority at various stages of this
   26    action. (ECF Nos. 42, 71, 76).
   27             d. Mediation and Settlement
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                                                   4
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     1
               During the course of the litigation, Defendant produced data and documents
     2
         which were reviewed in relation to the prosecution and possible resolution of the
     3
         case. The parties prepared detailed briefs in preparation for mediation. See
     4
         Declaration of Scott Edelsberg (“Edelsberg Dec.”) attached as Exhibit C at ⁋ 4.
     5
               The parties engaged in extensive arm’s-length negotiations, including two
     6
         private mediation sessions facilitated by experienced mediators Ted Bandstra and Jill
     7
         Sperber, respectively. Id. Following confirmatory discovery, the parties ultimately
     8
         agreed to the Agreement now before this Court. Id. At all times, the parties’
     9
         negotiations were adversarial, non-collusive and at arm’s length. Id.
   10          Plaintiff and Class Counsel concluded, after taking into account the sharply
   11    disputed factual and legal issues involved in this Litigation, the risks attending further
   12    prosecution, the discovery and investigation conducted to date, and the substantial
   13    benefits received and to be received pursuant to the compromise and settlement of
   14    the Litigation, that settlement on the terms discussed herein is in the best interests of
   15    Plaintiff and the Class. Edelsberg Dec. at ⁋5. Plaintiff and Class Counsel are mindful
   16    of the potential risks they face, many of which were discussed during the mediation.
   17    As such, Class Counsel believes that the Settlement reached is fair to the Class and
   18    confers substantial benefits on the Class, providing all Class Members with
   19    recoveries in the near term. Based on their evaluation, Class Counsel determined that
   20    the settlement set forth in the Agreement is in the best interest of the Class. Edelsberg
   21    Dec. at ⁋6. The Agreement, if approved by the Court, will resolve the claims of the
   22    settlement Class. The Class Representative also agreed to a general release of all
   23    claims.
   24       III.   SUMMARY OF THE SETTLEMENT TERMS
   25          The details of the Settlement terms are addressed and summarized by Class
   26    Counsel in Plaintiff’s Unopposed Motion for Final Approval of Class Action
   27    Settlement filed concurrently.
   28
                                                     5
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     1
               The Parties settled the underlying claims for a Gross Settlement Amount of
     2
         $2,500,000 for approximately 54,314 Class Members. The settlement provides for up
     3
         to $625,700 (25% of the gross settlement amount) in attorney’s fees, costs not to
     4
         exceed $12,588.03, and an incentive payment of $5,000 for Johnson. Also, the
     5
         proposed settlement administrator shall be paid no more than $125,000 from the gross
     6
         settlement amount.
     7
               Plaintiff submits this number is fair and reasonable in light of the risk of no
     8
         recovery following protracted litigation and for all the reasons addressed in the
     9
         Motion and supporting documents. The Court has preliminarily approved the
   10    Settlement after reviewing Plaintiff’s methodology and potential estimated liability
   11    calculations. (ECF No. 125).
   12       IV.   THE REQUESTED FEE AWARD IS WARRANTED UNDER THE
   13             COMMON FUND DOCTRINE
   14             a. The Legal Standard for Attorneys’ Fees Awards
   15          Under the Federal Rules of Civil Procedure, “[i]n a certified class action, the
   16    court may award reasonable attorney [] fees and nontaxable costs that are authorized
   17    by law or by the parties’ agreement.” Fed. R. Civ. P. 23(h). “Where a settlement
   18    produces a common fund for the benefit of the entire class, courts have discretion to
   19    employ either the lodestar method or the percentage-of-recovery method.” In re
   20    Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 942 (9th Cir. 2011). But this
   21    “discretion must be exercised so as to achieve a reasonable result.” Id. Courts
   22    generally first calculate a fee award using the percentage method, and then use the
   23    lodestar method as a “check” on that amount. See, e.g., Vizcaino v. Microsoft Corp.,
   24    290 F.3d 1043, 1050 (9th Cir. 2002).
   25          “[A] private plaintiff, or his attorney, whose efforts create, discover, increase
   26    or preserve a fund to which others also have a claim is entitled to recover from the
   27    fund the costs of his litigation, including attorneys’ fees.” Vincent v. Hughes Air
   28
                                                   6
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     1
         West., Inc., 557 F.2d 759, 769 (9th Cir. 1977); see also, Chem. Bank v. Jaffe &
     2
         Schlesinger, P.A., 19 F.3d 1306, 1308 (9th Cir. 1994). “Attorneys’ fees provisions
     3
         included in proposed class action agreements are, like every other aspect of such
     4
         agreements, subject to the determination whether the settlement is fundamentally fair,
     5
         adequate and reasonable.” Staton v. Boeing Co., 327 F.3d 938, 963 (9th Cir. 2003)
     6
         (quoting Fed. R. Civ. P. 23(e)) (internal quotation marks omitted).
     7
                   b. The Equitable Common Fund Doctrine Applies
     8
               Federal and state courts recognize that when counsel’s efforts result in the
     9
         creation of a common fund that benefits plaintiffs and unnamed class members,
   10    counsel have an equitable right to be compensated from that fund as a whole for their
   11    successful efforts in creating it. See, e.g., Boeing Co. v. Van Gemert, 444 U.S. 472,
   12    478 (1980) (observing that the United States Supreme Court “has recognized
   13    consistently that a litigant or a lawyer who recovers a common fund . . . is entitled to
   14    a reasonable attorney’s fee from the fund as a whole”). The common fund doctrine
   15    rests on the understanding that attorneys should normally be paid by their clients. Id.
   16    at 478. Where the attorneys’ unnamed class member clients have no express retainer
   17    agreement, those who benefit from the fund without contributing to it would be
   18    unjustly enriched if attorneys’ fees were not paid out of the common fund. Id. Here,
   19    Class Counsel have helped generate a $2,500,000.00 settlement for the participating
   20    Class Members, none of whom have paid any fees or costs. Equity requires them to
   21    pay a reasonable fee, based on what the market would traditionally require, no less
   22    than if they had hired private counsel to litigate their cases individually. Boeing, 444
   23    U.S. at 479-81.
   24              c. Fees Should be Calculated as a Percentage of the Common Fund
   25          The fairest and most efficient way to calculate a reasonable fee when
   26    contingency litigation produces a common fund is to award counsel a percentage of
   27    the total fund. See, e.g., Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984); Six Mexican
   28
                                                    7
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         Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990) (common
     2
         fund fee generally “calculated as a percentage of the recovery”); Paul, Johnson,
     3
         Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989).
     4
               The percentage of the fund method can be appropriate for several reasons. The
     5
         percentage method comports with the legal marketplace, where plaintiffs’ counsel’s
     6
         success is frequently measured in terms of the results they have achieved. See
     7
         Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261, 1269 (D.C. Cir. 1993) (in common
     8
         fund cases, “the monetary amount of the victory is often the true measure of
     9
         [counsel’s] success”). By assessing the amount of the fee in terms of the amount of
   10    the benefit conferred on the class, the percentage method “more accurately reflects
   11    the economics of litigation practice” which, “given the uncertainties and hazards of
   12    litigation, must necessarily be result-oriented.” Id. (internal quotations and citations
   13    omitted); see also Elliott v. Rolling Frito-Lay Sales, LP, No. 11 Civ. 01730, 2014 WL
   14    2761316, at *9 (C.D. Cal. June 12, 2014) (highlighting significant benefits of
   15    percentage approach and its consistency with contingency fee calculations in the
   16    private market). Moreover, the percentage approach aligns the incentives of the class
   17    members and their counsel, so that time is spent efficiently and the class’s recovery
   18    – rather than lodestar hours – is maximized. In re Activision Sec. Litig., 723 F. Supp.
   19    1373, 1375-76 (N.D. Cal. 1989).
   20              d. The Requested Fees Are Consistent with Ninth Circuit Authority
   21          The Ninth Circuit has directed that, to determine what constitutes a fair and
   22    reasonable percentage of the settlement for purposes of calculating common fund
   23    attorneys’ fees, the courts should use a “benchmark” percentage of 25% of the total
   24    fund. Paul, 886 F.2d at 272; Vizcaino, 290 F.3d at 1047; Six Mexican Workers, 904
   25    F.2d at 1311. The percentage can be adjusted upwards where the risks overcome, the
   26    benefits obtained and the work necessary to achieve those results supports such an
   27    adjustment of the benchmark. In fact, while the Ninth Circuit identified twenty-five
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         percent as a fee percentage that is presumptively reasonable, the custom and practice
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         in class actions is to award approximately one-third of a fund as a fee award. See
     3
         Chavez v. Netflix, Inc., 162 Cal. App. 4th 43, 66, n.11 (2008) (“Empirical studies
     4
         show that, regardless whether the percentage method or the lodestar method is used,
     5
         fee awards in class actions average around one-third of the recovery.”). Class
     6
         Members have had the opportunity to object to the proposed award of fees and costs,
     7
         and as of this date none have done so.
     8
               The compensation sought for Class Counsel is also fair and reasonable. Here,
     9
         the Gross Settlement Fund obtained through the efforts of Class Counsel is
   10    $2,500,000. Class Counsel has agreed to request no more than $625,700 in fees from
   11    the gross settlement fund, or 25% of the gross settlement fund. As such, Plaintiff’s
   12    requests are consistent with the approach of this Circuit.
   13             e. A Common Fund Fee Award of 25% of the Gross Settlement
   14                  Amount is Within the Range of Fees Awarded in This Circuit
   15          The typical range of acceptable attorneys’ fees in the Ninth Circuit is 20% to
   16    33.33% of the total settlement value, with 25% considered the benchmark. Powers v.
   17    Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000); Hanlon v. Chrysler Corp., 150 F.3d
   18    1011, 1029 (1998); Staton, 327 F.3d at 952. However, the exact percentage varies
   19    depending on the facts of the case, and in “most common fund cases, the award
   20    exceeds that benchmark.” Knight v. Red Door Salons, Inc., 2009 WL 248367 (N.D.
   21    Cal. 2009).
   22          A survey of orders from the past year shows that courts within this Circuit
   23    routinely award attorneys’ fees at or above the percentage requested by Class Counsel
   24    in this matter. See Contreras v. Worldwide Freight Services, Inc., 2020 WL 2083017
   25    (E.D. Cal. 2020) (approving fee award request of 33.33% of total settlement amount,
   26    noting that the average per class member recovery of $221.01 weighed in favor of an
   27    increase over the Ninth Circuit benchmark and that awards made in similar cases
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         supported the requested award); Howell v. Advantage RN, LLC, 2020 WL 5847565
     2
         (S.D. Cal. 2020) (approving fee award of 33.33% and lodestar multiplier of 1.0904);
     3
         Greer v. Dick’s Sporting Goods, Inc., 2020 WL 5535399 (E.D. Cal. 2020) (approving
     4
         fee award of 33% and lodestar multiplier of 1.24).
     5
               In this case, Class Counsel seeks 25% of the common fund generated for the
     6
         benefit of the Class. Given the circumstances surrounding Plaintiff’s claims and the
     7
         resilience of Defendants’ defenses, Class Counsel understood it faced significant
     8
         hurdles in certifying and prevailing at trial on behalf of the Class. Additionally, the
     9
         total amount recovered in settlement provided a significant recovery for the Class.
   10    As such, this Court should find 25% of the Settlement fits within the range of fees
   11    awarded within this Circuit.
   12              f. The Common Fund Fee Award Satisfies Heightened Scrutiny
   13                 Under Bluetooth
   14          District courts in the Ninth Circuit assessing fee awards in class action
   15    litigation are required to “scrutinize agreements for ‘subtle signs that class counsel
   16    have allowed pursuit of their own self-interests . . . to infect the negotiations.’ Briseño
   17    v. Henderson, 998 F.3d 1014, 1023 (9th Cir. 2021) (citing In Re Bluetooth, 254 F.3d
   18    at 947). The three “red-flags” raised as concerns in Bluetooth and Briseño are: “(1)
   19    when counsel receive[s] a disproportionate distribution of the settlement; (2) when
   20    the parties negotiate a “clear sailing arrangement,” under which the defendant agrees
   21    not to challenge a request for an agreed-upon attorney’s fee; and (3) when the
   22    agreement contains a “kicker” or “reverter” clause that returns unawarded fees to the
   23    defendant, rather than the class.” Id.
   24          None of the Bluetooth “red-flags” present any concern in granting Plaintiff’s
   25    request. As noted throughout this motion, Class Counsel seeks a reasonable and fair
   26    25% of the common fund generated for the benefit of the Class. There was no
   27    collusion between the parties during their contested negotiations to allow for any
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                                                     10
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         “clear sailing” agreement. In fact, a recent amendment to Paragraph 71 of the
     2
         Agreement specifically retain Defendants’ right to object to this fee petition. See
     3
         Exhibit B at ⁋71. Because Class Counsel will be paid from the same settlement fund
     4
         as the settlement Class Members, they were incentivized to negotiate the largest fund
     5
         possible. As a result of those efforts, Class Counsel negotiated a $2.5 million
     6
         settlement fund. Plaintiff’s request of a fee award of 25% of the total settlement is
     7
         consistent with the Ninth Circuit’s “benchmark” and is within the range of fees
     8
         awarded in this Circuit. Accordingly, Class Counsel’s award is a proportionate
     9
         distribution of the settlement that satisfies heightened scrutiny under Bluetooth and
   10    Briseño.
   11       V.      RELEVANT FACTORS SUPPORT THE REQUESTED FEE
   12               AWARD
   13            In assessing a request for attorney fees, courts consider several factors,
   14    including: (1) the results achieved; (2) the risk of litigation; (3) the skill required and
   15    the quality of work; (4) the contingent nature of the fee and the financial burden
   16    carried by the plaintiffs; (5) awards made in similar cases; and (6) a comparison of
   17    the percentage and lodestar methods. See Vizcaino, 290 F.3d at 1048–1050; see also
   18    In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1046 (N.D. Cal. 2008).
   19            These Vizcaino factors support Class Counsel’s compensation in this case,
   20    where the financial burden of investigating, developing, and prosecuting the case, the
   21    risk and complexity of adequately proving uniform policies and practices that
   22    functioned in concert to violate Class Members’ rights, and the skill and diligence
   23    required to maintain the case in the face of forceful opposition were substantial.
   24               a. The Results Achieved Are Significant and Favorable
   25            “[T]he most critical factor” in assessing a request for fees “is the degree of
   26    success obtained.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). Here, Class
   27    Counsel negotiated a sizable settlement fund of $2,500,000 that represents substantial
   28
                                                     11
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         and real recovery for Class Members who do not exclude themselves. The Class
     2
         Members will receive a substantial amount in settlement funds, approximately $46
     3
         each, and these results were achieved efficiently in a relatively short time. This factor
     4
         weighs in favor of granting the fees and costs as requested.
     5
                   b. The Litigation Presented Significant Risks
     6
               Plaintiff faces serious risks due to the uncertainty of trial. Settlements are a
     7
         way to bypass those risks. See Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242
     8
         (9th Cir. 1998) (“[I]t is the very uncertainty of outcome in litigation and avoidance
     9
         of wasteful and expensive litigation that induce consensual settlements.” (internal
   10    quotation marks omitted).) The risks were high here.
   11          Continued litigation presents the Class Members with a risk of denial of class
   12    certification or decertification and loss on the merits, so this factor weighs in favor of
   13    granting fees. Defendant has vigorously contested liability, arguing that
   14    individualized issues precluded Rule 23 certification. Courts within this Circuit have
   15    reached different conclusions on whether to certify TCPA class actions. Compare
   16    Felix v. N. Am. Asset Servs., LLC, No. CV 12-3718-JFW (ANx), 2012 U.S. Dist.
   17    LEXIS 191548, at *7 (C.D. Cal. Sep. 5, 2012) (denying class certification), Connelly
   18    v. Hilton Grand Vacations Co., LLC, 294 F.R.D. 574, 579 (S.D. Cal. Oct. 29, 2013)
   19    (same), and Fields v. Mobile Messengers Am., Inc., No. 12-cv-05160-WHA, 2013
   20    U.S. Dist. LEXIS 163950 (N.D. Cal. Nov. 18, 2013) (same), with Stern v. DoCircle,
   21    Inc., No. SACV 12-2005 AG (JPRx), 2014 U.S. Dist. LEXIS 17949 (C.D. Cal. Jan.
   22    29, 2014) (certifying TCPA class), Caldera v. Am. Med. Collection Agency, 320
   23    F.R.D. 513 (C.D. Cal. June 27, 2017) (same), and Makaron v. Enagic USA, Inc., 324
   24    F.R.D. 228 (C.D. Cal. Mar. 13, 2018) (same).
   25          In addition, Class Counsel acknowledges the risks posed by Defendants’
   26    motions to compel Plaintiff’s claims to arbitration and enforce a class-action waiver
   27
   28
                                                    12
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         contained in the sales agreement he signed when he purchased a vehicle from the
     2
         Moss Bros. Moreno Valley dealership, which has sought to intervene in this action.
     3
               These complex issues meant that Plaintiff could lose on the merits, class
     4
         certification, trial, or appeal, which created substantial risk that Plaintiff and Class
     5
         Members would recover nothing in this litigation. In short, Plaintiff was by no means
     6
         assured of success, and Class Counsel was not assured of any fees or cost
     7
         reimbursement.
     8
               Additionally, this litigation is a complex class case, which increased the risk
     9
         of non-recovery. When this case was taken on a contingent-fee basis by Class
   10    Counsel, with the firm advancing all litigation costs, the ultimate result was far from
   11    certain. Defendant defended this action vigorously, and there was always the
   12    possibility that the class might not prevail, and then all the work Class Counsel had
   13    done would have gone uncompensated. Edelsberg Dec. at ⁋7.
   14              c. This Action Required a High Degree of Skill and Work Quality
   15          Class Counsel are highly experienced in TCPA class actions. Edelsberg Dec.
   16    at ⁋8. Overall, Class Counsel displayed adequate skills and quality of work in moving
   17    this complex TCPA class action along efficiently and negotiating a settlement in the
   18    face of strong opposition, uncertainty, and great risk. This factor therefore weighs in
   19    favor of granting fees.
   20              d. Contingent Nature of the Requested Fees
   21          Contingent-fee arraignments assure “adequate representation for plaintiffs
   22    who could not otherwise afford competent attorneys,” but present acute litigation
   23    risks. See In re Omnivision, 559 F. Supp. 2d at 1047. Class Counsel has devoted over
   24    400 hours to this litigation, resulting in a lodestar of over $280,000, which is expected
   25    to rise through the Final Approval Hearing. Edelsberg Dec. at ⁋9. Class Counsel’s
   26    lodestar will continue to increase on a weekly basis, as Class Counsel continues to
   27    pursue final approval, implement the settlement, respond to class member inquiries,
   28
                                                    13
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         etc., continuing months beyond final approval. Class counsel accepted this case on a
     2
         pure contingency basis and have received no compensation for their time or expenses
     3
         to date. Edelsberg Dec. at ⁋10.
     4
                   e. Awards in Similar Cases Support Approval Here
     5
               Although 25% of the total recovery is the benchmark for attorney fees in the
     6
         Ninth Circuit, numerous courts have awarded a higher percentage in similar
     7
         circumstances. See, e.g., Larson v. Harman-Management Corp., Case No. 1:16-cv-
     8
         00219-DAD-SKO, 2020 U.S. Dist. LEXIS 107938, at *24-25 (E.D. Cal. June 18,
     9
         2020) (awarding 25% of the common fund in a TCPA action); West v. Cal. Serv.
   10    Bureau, Inc., Case No. 4:16-cv-03124-YGR, Dkt. No. 128 (N.D. Cal. Jan. 23, 2019)
   11    (Rogers, J.) (awarding 33.33% of the common fund); Vendervort v. Balboa Capital
   12    Corp., 8 F. Supp. 3d 1200, 1210 (C.D. Cal. 2014) (awarding 33% of common fund);
   13    Izor v. Abacus Data Sys., Case No. 19-cv-01057-HSG, 2020 U.S. Dist. LEXIS
   14    239999, at *27 (N.D. Cal. Dec. 21, 2020) (grating an award of 30% of the total
   15    settlement in a TCPA action); Gergetz v. Telenav, Inc., No. 16-cv-04261-BLF, 2018
   16    U.S. Dist. LEXIS 167206, at *21 (N.D. Cal. Sep. 27, 2018) (approving fees of 30%
   17    of the settlement fund in a TCPA case which settled after briefing of and prior to
   18    ruling on defendant’s motion to dismiss and motion to stay).
   19          Class Counsel’s request of 25% of the total recovery, the benchmark for
   20    attorneys’ fees in the Ninth Circuit, supports approval of the requested attorneys’
   21    fees. In light of the excellent outcome, when compared to the risks attendant to this
   22    Action and the fees awarded in similar class actions, the request is justified, fair, and
   23    reasonable.
   24              f. A Lodestar Analysis Supports the Requested Fees
   25          Despite the widely recognized limitations of the so-called “lodestar” method,
   26    California and federal courts recognize the utility of a lodestar “cross-check.” Lealao
   27    v. Beneficial California, Inc., 82 Cal. App. 4th 19, 46 (2000). A lodestar “cross-
   28
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         check” analysis typically happens in three steps. Cundiff v. Verizon California, 167
     2
         Cal. App. 4th 718 (2008), accord Vizcaino, 290 F.3d at 1047. First, a trial court must
     3
         determine a baseline guide or “lodestar” figure based on the time spent and
     4
         reasonable hourly compensation for each attorney involved in the case. Serrano v.
     5
         Priest, 20 Cal. 3d 25, 48 (1977). Second, the court sets a reasonable hourly fee to
     6
         apply to the time expended, with reference to the prevailing rates in the geographical
     7
         area in which the action is pending. Bihun v. AT&T Information System, 13 Cal. App.
     8
         4th 976, 997 (1993) (18 years ago, affirming a $450 per hour rate for a Southern
     9
         California litigation attorney). Finally, a “multiplier” of the base lodestar is set with
   10    reference to the factors described in detail in this brief. Courts often apply a positive
   11    multiplier to the lodestar to determine a reasonable fee. E.g. Vizcaino supra at 1051
   12    (positive multiplier of 3.65.) Across all jurisdictions, multipliers of up to four are
   13    frequently awarded. NEWBERG, §14.03 at 14. Often, multipliers of greater than four
   14    are warranted.
   15          The Ninth Circuit has recognized that the lodestar method “creates incentives
   16    for counsel to spend more hours than may be necessary on litigating a case so as to
   17    recover a reasonable fee, since the lodestar method does not reward early settlement.”
   18    Vizcaino, 290 F.3d at 1050, n.5. As a corollary, a defendant willing to recognize a
   19    potential error and settle at an early stage would face the increased risk that an early
   20    settlement overture would be rejected. That did not happen here, in part because a
   21    percentage of the fund award encourages efficient litigation. The Ninth Circuit has
   22    thus cautioned that, while a lodestar method can be used as a cross check on the
   23    reasonableness of fees based on a percentage of recovery method if a district court in
   24    its discretion chooses to do so, a lodestar calculation is not required, and it did “not
   25    mean to imply that class counsel should necessarily receive a lesser fee for settling a
   26    case quickly.” Id.
   27
   28
                                                    15
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               Looking at the work of Class Counsel for Plaintiff in this matter, the lodestar
     2
         calculation is $280,047.50, representing over 400 of hours of time. Edelsberg Dec. at
     3
         ⁋11 and Exhibit B to Edelsberg Dec. Exhibit B to the Edelsberg Declaration sets for
     4
         each firm’s lodestar with detail regarding hours spent and hourly rates. Here, Plaintiff
     5
         is requesting a lodestar multiplier just above 2. The figures for estimated time reflect
     6
         the best estimates of Class Counsel, based on their experience and the settlement class
     7
         size, and for the time that will be expended by Class Counsel between the filing of
     8
         this motion and the hearing of Plaintiff’s Motion for Final Approval..
     9
               Here, Class Counsel’s adjusted lodestar is at $280,047.50 without any
   10    multiplier based on a reasonable hourly rate. Edelsberg Dec. at ⁋11 and Exhibit B to
   11    Edelsberg Dec. As the Ninth Circuit has stated, “courts have routinely enhanced the
   12    lodestar to reflect the risk of non-payment in common fund cases.” Vizcaino, 290
   13    F.3d at 1051 (quoting In re Washington Public Power Supply Sys. Sec. Litig., 19 F.3d
   14    1291, 1300 (9th Cir. 1994). The multiplier range typically applied by district courts
   15    is 1.5 to 4. See, e.g., Bellinghausen v. Tractor Supply Co. 306 F.R.D. 245, 264 (N.D.
   16    Cal. 2014) (54 percent of lodestar multipliers fall within the 1.5 to 3.0 range, and 83
   17    percent of multipliers fell within the 1.0 to 4.0 range); Hopkins v. Stryker Sales Corp.,
   18    No. 11-CV-02786- LHK, 2013 WL 496358, at *5 (N.D. Cal. Feb. 6, 2013) (multiplier
   19    of 2.86); Di Giacomo v. Plains All Am. Pipeline, Nos. 99–4137 & 99–4212, 2001 WL
   20    34633373, at *10–11 (S.D. Fla. Dec. 19, 2001) (5.3 multiplier); Maley v. Del Global
   21    Techs. Corp., 186 F. Supp. 2d 358, 369 (S.D.N.Y. 2002) (4.65 multiplier); In re
   22    Aremissoft Corp. Sec. Litig., 210 F.R.D. 109, 134–35 (D.N.J. 2002) (4.3 multiplier).
   23          Class Counsel obtained this settlement efficiently, affording redress to the
   24    Class Members swiftly, without forcing them to wait through protracted, and risky,
   25    litigation. Class Counsel was able to settle this case for a substantial amount under
   26    the circumstances, especially considering the difficulty of the case and Defendant’s
   27    defenses. Class Counsel includes experienced class action attorneys. Edelsberg Dec.
   28
                                                    16
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     1
         at ⁋8. They used their full abilities to achieve the successful result here. As shown
     2
         above, the award requested here is fully in line with awards and multipliers employed
     3
         in this Circuit. Accordingly, the lodestar cross-check affirms, with a multiplier just
     4
         about 2, that the fee award does in fact fall easily within the range of reasonableness.
     5
               The percentage of recovery method “rests on the presumption that persons who
     6
         obtain benefits of a lawsuit without contributing to its cost are unjustly enriched at
     7
         the successful litigant’s expense.” Staton, 327 F.3d at 967. It is only fair that every
     8
         class member who benefits from the opportunity to claim a share of the settlement
     9
         pay his or her pro rata share of attorney’s fees, and Plaintiff’s request for fees here
   10    means that Class Counsel seek an amount of fees less than the amount Class Counsel
   11    would likely receive if they represented each class member individually. Typical
   12    contingent fee contracts of plaintiffs’ counsel provide for attorney’s fees of about 30-
   13    40% of any recovery obtained for a client. Edelsberg Dec. at ⁋12. It would be unfair
   14    to compensate Class Counsel here at a substantially lesser rate because they obtained
   15    relief for hundreds of class members. To the contrary, equitable considerations dictate
   16    that Class Counsel be rewarded for achieving a settlement that confers benefits
   17    among so many people, especially without protracted litigation. The result achieved
   18    by Class Counsel merits an award of attorney’s fees equal to 25% of the total
   19    recovered value in this case.
   20       VI.    REIMBURSEMENT OF REASONABLE CLASS COUNSEL
   21              COSTS
   22          Plaintiff also requests reimbursement from the common fund for out-of-pocket
   23    expenses incurred by Class Counsel during this litigation. Rule 23(h) permits the
   24    Court to “award . . . nontaxable costs that are authorized by law or by the parties’
   25    agreement.” Fed. R. Civ. P. 23(h). The Settlement permits Class Counsel to seek
   26    reimbursement of their reasonable expenses. Class Counsel has incurred $12,588.03
   27    in costs thus far. Edelsberg Dec. at ⁋13. Class Counsel is entitled to recover “those
   28
                                                   17
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     1
         out-of-pocket expenses that would normally be charged to a fee-paying client.”
     2
         Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994). It is appropriate to reimburse
     3
         Class Counsel for such expenses from the common fund.
     4
               Plaintiff’s incurred costs in this matter, including filing fees, Pro Hac fees,
     5
         mediation fees for two mediations, subpoenas, service fees, Westlaw charges,
     6
         PACER charges, travel expenses, postage charges and attorney service charges.
     7
         Thus, Plaintiff requests $12,588.03 in costs, which is less than the amount provided
     8
         under the Settlement Agreement. Edelsberg Dec. at ⁋13. All of the costs provided
     9
         were necessary in connection with the prosecution of this litigation and were
   10    expended for the benefit of the Class. Class Counsel will submit a supplemental
   11    declaration and invoice to provide updated costs if needed.
   12       VII. CLASS REPRESENTATIVE SERVICE AWARD REQUESTED
   13          Plaintiff also seeks approval of a Class Representative service award of
   14    $5,000.00. “Incentive awards are fairly typical in class action cases.” Rodriguez v. W.
   15    Publ’g Corp., 563 F.3d948, 958 (9th Cir. 2009). The Class Representative here has
   16    assisted Class Counsel in many ways, and the Class Representative Service Award
   17    amount is reasonable and justified. “[N]amed plaintiffs . . . are eligible for reasonable
   18    incentive payments” as part of a class action settlement. Staton, 327 F.3d at 977.
   19    Service or incentive payments are appropriate in a class action because they provide
   20    an incentive to bring important cases that have a broad impact benefiting a class of
   21    individuals, not just the plaintiff. Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir.
   22    1998). These payments also recognize the plaintiffs’ time, effort, and inconvenience,
   23    as well as the risk they are exposed to in asserting their and others’ rights in a
   24    particularly public manner. By bringing the litigation on behalf of others in addition
   25    to themselves, class representatives in TCPA class actions provide a valuable service
   26    to their fellow consumers. More broadly, they promote the public policy goals set
   27
   28
                                                    18
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         forth by the legislatures that enacted the underlying substantive statutes at issue.
     2
         Plaintiff did so here. Edelsberg Dec. at ⁋14.
     3
               For these reasons, courts in the Ninth Circuit routinely approve the award of
     4
         service payments to class representatives for their assistance to the class. See, e.g.,
     5
         Cabiness v. Educ. Fin. Sols., LLC, No. 16-cv-01109-JST, 2019 U.S. Dist. LEXIS
     6
         50817, at *13, 21 (N.D. Cal. Mar. 26, 2019) (awarding $5,000 incentive award in
     7
         TCPA action, where "because class members will not have to opt in, the majority of
     8
         the class will receive compensation" of $33.36); Gergetz, 2018 U.S. Dist. LEXIS
     9
         167206, at *15, 22 (granting $5,000 incentive award in TCPA case); Bonoan v.
   10    Adobe, Inc., Case No. 3:19-cv-01068-RS, 2021 U.S. Dist. LEXIS 45821, at *10-11
   11    (N.D. Cal. Mar. 10, 2021) (same); Horton v. Cavalry Portfolio Servs., LLC, Case No.
   12    13cv307-JAH-WVG, 2020 U.S. Dist. LEXIS 189489, at *9 (S.D. Cal. Oct. 13, 2020)
   13    ($10,000 service award to each of two class representatives in TCPA action); Larson,
   14    2020 U.S. Dist. LEXIS 107938, at *28 (granting $10,000 service award in TCPA
   15    action); Cabiness, 2019 U.S. Dist. LEXIS 50817, at *22 (agreeing with other courts
   16    in the Ninth Circuit finding that a $5,000 service award is presumptively reasonable,
   17    and awarding a $5,000 service award to the plaintiff in a TCPA action with a $1.1
   18    million settlement fund).
   19          Obtaining the result at bar was no small feat. Plaintiff devoted considerable
   20    time and energy to this case over approximately two years, which included approving
   21    three iterations of his class action complaint, participating in many strategy
   22    conferences with class counsel, responding to written discovery requests directed to
   23    him and staying available by phone for mediation. Edelsberg Dec. at ⁋15. Plaintiff
   24    also assisted class counsel in protracted settlement negotiations with Defendant for
   25    the good of the class before, during, and shortly after mediation. In short, Plaintiff
   26    was an ideal and dedicated class representative throughout this matter.
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                                                   19
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     1
               Given Plaintiff’s active participation in this matter, and as recognition for the
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         superb results he delivered to class members, a service award of $5,000 is justified.
     3
         This Court should accordingly approve a service award to Plaintiff in the amount of
     4
         $5,000.
     5
            VIII. CONCLUSION
     6
               Plaintiff respectfully requests that this Court award class counsel attorneys’
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         fees amounting to 25% of the $2.5 million common fund, approve the reimbursement
     8
         in litigation costs and expenses reasonably incurred by class counsel, and approve an
     9
         incentive award of $5,000 for his service to the class.
   10
   11    Dated: February 17, 2022
   12    Respectfully submitted,
   13    /s/ Scott Edelsberg
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   28
                                                   20
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     5
         Attorneys for Plaintiff Jamal Johnson
     6
     7
     8
     9                            CERTIFICATE OF SERVICE
   10
              I HEREBY CERTIFY that on this 17th day of February, I electronically filed
   11
         the foregoing document with the Clerk of the Court using CM/ECF. I also certify that
   12
   13    the foregoing document is being served this day on all counsel of record via
   14
         transmission of Notice of Electronic Filing generated by CM/ECF.
   15
   16
   17                                                       Respectfully submitted,
   18                                                       /s/ Scott Edelsberg
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                                                 21
